                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN


REDPRAIRIE CORPORATION,

                   Plaintiff,

         vs.                                              Case No. ________________

WINDWARD PETROLEUM,

                   Defendant.


                                             COMPLAINT


         Plaintiff RedPrairie Corporation (“RedPrairie”), by its attorneys, Whyte Hirschboeck

Dudek S.C., complains and alleges against defendant Windward Petroleum (“Windward”) as

follows:

                                               PARTIES

         1.        RedPrairie is a Delaware corporation that is engaged in the development,

licensing, maintenance and support of supply chain execution and retail operations software

systems nationally and internationally, maintaining its principal offices at 3905 Brookside

Parkway, Alpharetta, GA 30022.

         2.        Windward is, upon information and belief, a New Hampshire corporation with its

principal place of business located at 1064 Goffs Falls Road, Manchester, New Hampshire

03103.

                                    JURISDICTION AND VENUE

         3.        This Court has jurisdiction over this dispute pursuant to 28 U.S.C. § 1332(a).

         4.        Venue is proper pursuant to 28 U.S.C. § 1391(a).




WHD/7742914.1




                Case 2:11-cv-00382-LA Filed 04/21/11 Page 1 of 4 Document 1
                                    FACTUAL ALLEGATIONS

         5.        RedPrairie and Windward entered into a Software License & Services Agreement

(the “Agreement”), which was effective as of December 19, 2008. Attached as Exhibit A is a

true and correct copy of the Agreement (including its Business Terms and Appendices).

         6.        Under the Agreement, RedPrairie granted a perpetual license of proprietary

software (“Licensed Software”) and related technical documents (“Documentation”) to

Windward, and agreed to provide, upon Windward’s request, development, installation, training,

implementation and other professional services (“Services”) associated with the Licensed

Software.

         7.        Under Paragraph 2 of the Agreement’s Business Terms, Windward agreed to pay

RedPrairie a license fee (“License Fee”) for the Licensed Software of $126,350.00 in two equal

installments.

         8.        In addition, under Paragraph 5 of the Agreement’s Business Terms, Windward

agreed to pay for the Services as set forth in the Business Terms, including maintenance and

support services.

         9.        On or about December 29, 2008, RedPrairie delivered the Licensed Software and

Documentation to Windward pursuant to the Agreement.

         10.       After delivery of the Licenses Software and Documentation, RedPrairie invoiced

Windward pursuant to the terms of the Agreement.

         11.       The numbers of each of the individual invoices (collectively, the “Invoices”)

issued by RedPrairie to Windward that Windward refuses to pay, and the payment due dates and

amounts owed on each, are as follows:

                              Invoice No.        Payment      Amount Due
                                                 Due Date
                              DOM-501            4/25/2009     $11,371.50

                                                  2
WHD/7742914.1




                Case 2:11-cv-00382-LA Filed 04/21/11 Page 2 of 4 Document 1
                              DOM-873            4/26/2009    $63,175.00
                              DOM-4750           11/30/09     $11,371.50
                              DOM-6541           2/17/2010    $22,743.00
                              DOM-6921             3/2/10     $63,175.00
                                                 TOTAL:        $171,836.00


         12.       Attached hereto as Exhibit B are true and correct copies of the Invoices which

RedPrairie sent to Windward.

         13.       Paragraph 10.5 of the Agreement provides that Windward shall pay interest at

1.5% per month on any invoiced amount that it fails to pay within 30 days from the date of the

invoice.

         14.       Paragraph 15.4 of the Agreement provides that it is governed by Wisconsin law.

Also, in Paragraph 15.5 of the Agreement, Windward consented to the assertion of personal

jurisdiction by this Court over it.

         15.       RedPrairie has made demands for payments of the amounts owed by Windward

under the Agreement, but Windward has refused to pay same.

                                      FIRST CAUSE OF ACTION
                                         (Breach of Contract)

         16.       RedPrairie realleges and incorporates paragraphs 1 through 15 above, as though

fully contained herein.

         17.       The Agreement entered into between RedPrairie and Windward constitutes an

enforceable contract.

         18.       By refusing to pay the Invoices and other amounts owed to RedPrairie under the

Agreement, Windward has materially breached the Agreement.

         19.       Windward’s failure to pay money owed also constitutes a breach of the duty of

good faith and fair dealing implied in the Agreement.

                                                  3
WHD/7742914.1




                Case 2:11-cv-00382-LA Filed 04/21/11 Page 3 of 4 Document 1
         20.       RedPrairie has performed, and remains ready and willing to continue to perform,

all of its obligations under the Agreement.

         21.       As a direct result of Windward’s breach of the Agreement, RedPrairie has

suffered direct, incidental and consequential damages in an amount to be determined at trial.

         WHEREFORE, RedPrairie demands judgment as follows:

         a.        Money damages in an amount to be determined at trial, including all fees, interest

                   and other amounts owed under the Agreement, including as set forth on the

                   Invoices;

         b.        Prejudgment interest on all amounts due and owing under the Agreement;

         c.        RedPrairie’s legal costs and expenses associated with this action; and

         d.        Any and all other relief the Court deems just and equitable.

     DATED THIS 21ST DAY OF APRIL, 2011.
                                                  Attorneys for Plaintiff, RedPrairie Corporation


                                                  s/Eric J. Meier__________________________
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                                                    4
WHD/7742914.1




                Case 2:11-cv-00382-LA Filed 04/21/11 Page 4 of 4 Document 1
